Case 1:15-cv-07433-LAP Document 1320-19 Filed 01/03/24 Page 1 of 22




                                  *,8))5(

                                       96

                                 0$;:(//
                                    'HSRVLWLRQ


                            9,5*,1,$*,8))5(

                                    



     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




           $JUHQ%ODQGR&RXUW5HSRUWLQJ 9LGHR,QF
                            WK6WUHHW6XLWH
                            'HQYHU&RORUDGR
                                 
                 $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                     9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 2 of 22

 1           A       I believe this is when I was hoping to
 2    join the CVRA case.
 3           Q       All right.         And do you know when this
 4    document was filed?
 5                   And actually, just to be clear, about
 6    halfway there's actually a second document that was
 7    filed.     So this is a composite exhibit.              Let me be
 8    very clear.
 9                   So after page 14 -- I'm sorry, 13, there's
10    a second document that is styled Jane Doe #3 and Jane
11    Doe #4's Corrected Motion Pursuant to Rule 21 for
12    Joinder In Action.
13                   Do you see that?
14           A       Did you say page 14?
15           Q       It is on the 14th page of this document.
16                   Do you see that?
17           A       I do.
18           Q       And so this composite Exhibit 2 has both a
19    motion and a corrected motion.
20                   Do you see that?
21           A       Yes.
22           Q       And were both of those pleadings
23    authorized by you to be filed?
24           A       Yes.
25           Q       In other words, you wanted to join the

                            9,5*,1,$*,8))5(                      
                 $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                     9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 3 of 22

 1    CVRA action in or about December 30th, 2014, correct?
 2           A       I -- I'm not aware of the exact dates.
 3    There's no dates on this.               But I did try to join the
 4    motion, yes.
 5           Q       All right.         If you can look at the top
 6    line of the document.
 7           A       Yes.
 8           Q       Does it say, Entered on FLSD --
 9           A       Oh, it does, too, I'm sorry, yes.
10           Q       That's all right.             So does that refresh
11    your memory as to about when you first sought to join
12    the CVRA action?
13           A       Yes.
14           Q       December 30th, 2014, correct?
15           A       Yes.
16           Q       And the corrected motion was filed a few
17    days later, correct?
18           A       Yes, correct.
19           Q       If I could turn to Defendant's Exhibit 3,
20    which was January 21st.
21                   (Exhibit 3 marked.)
22                   MR. EDWARDS:          Thank you.
23           Q       (BY MS. MENNINGER)             Do you recognize this
24    document?
25           A       Yes, I do.

                            9,5*,1,$*,8))5(                       
                 $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                     9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 4 of 22

 1    physical features of Ghislaine Maxwell?
 2           A       I can tell you that she had very large
 3    natural breasts.         I can tell you that her pubic hair
 4    was dark brown, nearly black.                I don't remember any
 5    specific birthmarks or moles that I could point out
 6    that would be relevant.
 7           Q       Any scar?
 8           A       I don't remember any scars.
 9           Q       Any tattoos?
10           A       No tattoos.
11           Q       When did you next go to the El Brillo
12    house?
13           A       I believe it would have been the next day.
14           Q       You believe it would have been or was it?
15                   MR. EDWARDS:         Form.
16           A       I know that it was consecutive, that I
17    continued to go there after my first -- the first
18    time that the abuse took place there.                 It was
19    consecutive that I was there, I believe, over the
20    next course of weeks.
21           Q       (BY MS. MENNINGER)            What day of the week
22    was the first time you went?
23           A       I don't know.
24           Q       Do you know whether you went the very next
25    day or not?

                           9,5*,1,$*,8))5(                       
                 $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                     9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 5 of 22

 1           A       I believe I did.
 2           Q       All right.         How did you get there the very
 3    next day?
 4                   MR. EDWARDS:          Form.
 5           A       I believe my dad dropped me off again.
 6           Q       (BY MS. MENNINGER)             When you say you
 7    believe, do you recall him doing that or are you
 8    guessing?
 9           A       I don't -- well, this is how I figure
10    this.      I don't remember Ghislaine picking me up from
11    Mar-a-Lago.       I didn't have my own car.            So the only
12    way I could have really gotten there would have been
13    my dad picking me up -- I mean, sorry, dropping me
14    off.
15           Q       Do you have a distinct recollection of
16    your father dropping you off there more than one day
17    in a row?
18           A       Yes.
19           Q       You do not recall the car he was driving?
20           A       Like I said, he always drove trucks.
21    That's as good as I can get.
22           Q       And so -- and you worked on weekends as
23    well at Mar-a-Lago or no?
24           A       No.
25           Q       So the second day would have had to be

                            9,5*,1,$*,8))5(                      
                 $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                     9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 6 of 22

 1           A       I wouldn't say directly.
 2           Q       How --
 3           A       I'd say I stayed with my parents for --
 4    like, I think I finished school at Crestwood.                    So I
 5    would have been in, I don't know, I guess eighth
 6    grade, finished eighth grade.                And then -- I don't
 7    know.      I really don't know.           Around eighth grade.
 8           Q       You went to Growing Together?
 9           A       I think -- I think it was then.
10           Q       And how many years did you live at Growing
11    Together?
12           A       Over a year.
13           Q       Were you ever in foster care?
14           A       What Growing Together was, was like a
15    group home that sent you away to foster parents every
16    night.
17           Q       So you lived in other people's homes
18    during the period of time you were assigned to
19    Growing Together?
20           A       Well, you stayed at Growing Together
21    during the day and then at night you get sent home
22    with parents.
23           Q       Did you go to school while you were at
24    Growing Together?
25           A       Yeah, they offer education there.

                           9,5*,1,$*,8))5(                          
                 $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                     9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 7 of 22

 1           Q       So the education was at Growing Together?
 2           A       Yeah.
 3           Q       You did not attend a Palm Beach County --
 4           A       I did, but you had to earn your levels up
 5    to be able to go outside.               So I don't remember what
 6    level you have to get up to, to go out to another
 7    school.     I think there was like seven levels or
 8    something.       And you had to make it to, like, level 4
 9    to be able to go to outside school.
10           Q       So for some period of time you were
11    assigned to Growing Together and you were going to
12    school at Growing Together.                And for some period of
13    time you were going to other schools and coming back
14    to Growing Together?
15           A       Correct.
16           Q       And then when you came back to Growing
17    Together, you were sent to spend the night at a
18    family's home?
19           A       Yes.
20           Q       So you never slept at Growing Together?
21           A       No.
22           Q       Did you live -- other than living at or
23    staying at Growing Together during the day and
24    sleeping at these other homes at night, is there
25    anywhere else that you recall living in the period

                            9,5*,1,$*,8))5(                      
                 $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                     9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 8 of 22

 1    a 3.    I think it's

I                                          .   I really can't make out
 3    the telephone number.
 4           Q       Okay.      Do you see Relationship?          Can you
 5    read that?
 6           A       Friend.
 7           Q       Okay.      Do you see just below that there's
 8    a line that says number 21?
 9           A       Do not stop -- sorry, Do not sign
10    application until requested to do so by
11    administrating an oath.
12           Q       Okay.
13           A       Applicant's signature age 13 or older.
14           Q       Oh, it's by the signature line?
15           A       Yeah.
16           Q       And that's your signature?
17           A       Yes.
18           Q       All right.         And this is the document that
19    you recall filling out for your first passport?
20           A       I don't recall doing it, but yes, it's in
21    my handwriting and it's got all of my information on
22    it.
23           Q       Okay.      And on line -- box 23 it's got your
24    driver's license checked off, right?
25           A       July 23.       Yeah, I really can't make out

                            9,5*,1,$*,8))5(                       
                 $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                     9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 9 of 22

 1    And when they say massage, that means erotic, okay?
 2    That's their term for it.              I think there are plenty
 3    of other witnesses that can attest to what massage
 4    actually means.
 5                   And I'm telling you that Ghislaine told me
 6    to go to Glenn Dubin and give him a massage, which
 7    means sex.
 8           Q       Okay.     So Glenn -- Ghislaine Maxwell told
 9    you to go give a massage to Glenn Dubin?
10           A       Correct.
11           Q       That's your testimony?
12           A       That is my testimony.
13           Q       All right.        Ghislaine Maxwell told you to
14    go give a massage to                               , correct?
15           A       Correct.
16           Q       Ghislaine Maxwell told you to give a
17    massage to Prince Andrew, correct?
18           A       Correct.
19           Q       Ghislaine Maxwell told you to give a
20    massage to Bill Richardson, correct?
21           A       Correct.
22           Q       When did Ghislaine Maxwell tell you to
23    give a massage to Bill Richardson?
24           A       I don't know dates.
25           Q       Where were you?

                           9,5*,1,$*,8))5(                       
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 10 of 22

 1           A        When it happened?
 2           Q        When Ghislaine Maxwell used the words, Go
 3     give a massage to Bill Richardson, where were you?
 4                    MR. EDWARDS:         Object to the form.
 5     Mischaracterizes her testimony.
 6           A        I can't tell you where we were.              I know
 7     where I was sent to.           I don't know where we were when
 8     she told me to do that.
 9           Q        (BY MS. MENNINGER)            Where were you sent
10     to --
11           A        New Mexico.
12           Q        -- by Ghislaine Maxwell?
13                    MR. EDWARDS:         Object to the form.
14     Mischaracterizes her testimony again.
15           A        Are you smiling at me because --
16           Q        (BY MS. MENNINGER)            No, I'm asking you to
17     answer the question.
18           A        I have answered the question.             I was sent
19     to New Mexico.
20           Q        Okay.     Where were you sent from?
21           A        I already answered that.           I don't know
22     where I was sent from.
23           Q        Okay.
24           A        I was flying everywhere with these people.
25           Q        Where were you sent by Ghislaine Maxwell

                            9,5*,1,$*,8))5(                        
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 11 of 22

 1     to have sex with Jean Luc Brunel?
 2                    MR. EDWARDS:         Object to the form.
 3     Mischaracterized her testimony.
 4           A        Many places.
 5           Q        (BY MS. MENNINGER)            Ghislaine Maxwell sent
 6     you to many places to have sex with Jean Luc Brunel?
 7                    MR. EDWARDS:         Object to the form.
 8           A        It happened at many places, yes.
 9           Q        (BY MS. MENNINGER)            You had sex with Jean
10     Luc Brunel at many places is what you're saying,
11     correct?
12           A        I was sent to Jean Luc Brunel at many
13     places to have sex with him.
14           Q        When did Ghislaine Maxwell send you to a
15     place to have sex with Jean Luc Brunel?
16           A        You are asking --
17                    MR. EDWARDS:         Form.
18           A        -- me to answer the impossible.
19           Q        (BY MS. MENNINGER)            All right.   When did
20     Ghislaine Maxwell send you to have sex with the owner
21     of a large hotel chain?
22                    MR. EDWARDS:         Object to the form.
23     Mischaracterization.
24           A        I'm going to keep answering the questions
25     the same way that I keep answering them.                  I don't

                            9,5*,1,$*,8))5(                       
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 12 of 22

 1     know where it was when she said to go do this.
 2           Q        (BY MS. MENNINGER)            Okay.    Where were you
 3     sent to have sex with the owner of a large hotel
 4     chain by Ghislaine Maxwell?
 5                    MR. EDWARDS:         Object to the form.
 6           A        I believe that was one time in France.
 7           Q        (BY MS. MENNINGER)            Which time in France?
 8           A        I believe it was around the same time that
 9     Naomi Campbell had a birthday party.
10           Q        Where did you have sex with the owner of a
11     large hotel chain in France around the time of Naomi
12     Campbell's birthday party?
13           A        In his own cabana townhouse thing.                It was
14     part of a hotel, but I wouldn't call it a hotel.
15                    Jeffrey was staying there.              Ghislaine was
16     staying there.        Emmy was staying there.            I was
17     staying there.        This other guy was staying there.              I
18     don't know his name.
19                    I was instructed by Ghislaine to go and
20     give him an erotic massage.
21           Q        She used the words erotic massage?
22           A        No, that's my word.               The word massage is
23     what they would use.           That's their code word.
24           Q        Was she in the room when you gave this
25     erotic massage to the owner of a large hotel chain?

                            9,5*,1,$*,8))5(                           
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 13 of 22

 1           A        No, she was not in the room.             She was in
 2     another cabana.
 3           Q        And other than telling you to go give the
 4     owner of this large hotel chain a massage, do you
 5     remember any other words she used to you to direct
 6     you in what you should do?
 7           A        Not at the time, no.
 8           Q        Where did -- where were you and where was
 9     Ms. Maxwell when she directed you to go have sex with
10     Marvin Minsky?
11                    MR. EDWARDS:         Object to the form.
12           A        I don't know.
13           Q        (BY MS. MENNINGER)            Where did you go to
14     have sex with Marvin Minsky?
15           A        I believe it was the U.S. Virgin Islands,
16     Jeff's -- sorry, Jeffrey Epstein's island in the U.S.
17     Virgin Islands.
18           Q        And when was that?
19           A        I don't know.
20           Q        Do you have any time of year?
21           A        No.
22           Q        Do you know how old you were?
23           A        No.
24           Q        Other than Glenn Dubin,                               ,
25     Prince Andrew, Jean Luc Brunel, Bill Richardson,

                            9,5*,1,$*,8))5(                           
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 14 of 22

 1     another prince, the large hotel chain owner and
 2     Marvin Minsky, is there anyone else that Ghislaine
 3     Maxwell directed you to go have sex with?
 4            A       I am definitely sure there is.             But can I
 5     remember everybody's name?              No.
 6            Q       Okay.     Can you remember anything else
 7     about them?
 8            A       Look, I've given you what I know right
 9     now.    I'm sorry.       This is very hard for me and very
10     frustrating to have to go over this.                 I don't -- I
11     don't recall all of the people.                  There was a large
12     amount of people that I was sent to.
13            Q       Do you have any notes of all these people
14     that you were sent to?
15            A       No, I don't.
16            Q       Where are your notes?
17            A       I burned them.
18            Q       When did you burn them?
19            A       In a bonfire when I lived at Titusville
20     because I was sick of going through this shit.
21            Q       Did you have lawyers who were representing
22     you at the time you built a bonfire and burned these
23     notes?
24            A       I've been represented for a long time, but
25     it was not under the instruction of my lawyers to do

                            9,5*,1,$*,8))5(                        
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 15 of 22

 1     this.     My husband and I were pretty spiritual people
 2     and we believed that these memories were worth
 3     burning.
 4           Q        So you burned notes of the men with whom
 5     you had sex while you were represented by counsel in
 6     litigation, correct?
 7                    MR. EDWARDS:          Object to the form.
 8           A        This wasn't anything that was a public
 9     document.      This was my own private journal, and I
10     didn't want it anymore.              So we burned it.
11           Q        (BY MS. MENNINGER)             When did you write
12     that journal?
13           A        Just over time.           I started writing it
14     probably in, I don't know, I can't speculate, 2012,
15     2011.
16           Q        So you did not write this journal at the
17     time it happened?
18           A        No.
19           Q        You started writing this journal
20     approximately a decade after you claim you finished
21     being sexually trafficked, correct?
22           A        Yes.
23           Q        And you started writing a journal after
24     you had a lawyer, correct?
25           A        Correct.

                             9,5*,1,$*,8))5(                      
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 16 of 22

 1           Q        Including Mr. Edwards, who is sitting
 2     right here, correct?
 3           A        Correct.
 4           Q        What did that journal look like?
 5           A        It was green.
 6           Q        And what else?
 7           A        It was just a spiral notebook.
 8           Q        Okay.     And what did you put into that
 9     green spiral notebook?
10           A        Bad memories.         Things that I've gone
11     through, lots of things, you know.               I can't tell you.
12     There was a lot of pages.              It was over 300 pages in
13     that book.
14           Q        Did you ever show that book to your
15     lawyers?
16           A        No.
17           Q        Did you show that book to anyone?
18           A        My husband.
19           Q        Did you show it to anyone else besides
20     your husband?
21           A        No.
22           Q        Did you tear out pages and give them to
23     Sharon Churcher?
24           A        No, I wrote -- those pages that you're
25     talking about, I wrote for her specifically.                   She

                            9,5*,1,$*,8))5(                       
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 17 of 22

 1     wanted to know about the Prince Andrew incident.
 2           Q        So that's a different piece of paper?
 3           A        Yeah, that's just random paper.
 4           Q        So you had a green spiral notebook that
 5     you began sometime in 2011 or 2012 in which you wrote
 6     down your recollections about what had happened to
 7     you, and you burned that in a bonfire in 2013.
 8                    Did I get that right?
 9           A        You got that right.
10           Q        And do you have no other names of people
11     to whom you claim Ghislaine Maxwell directed you to
12     have sex, correct?
13           A        At this time, no.
14           Q        Is there any document that would refresh
15     your recollection that you could look at?
16           A        If you have a document you'd like to show
17     me, I would be glad to look at it and tell you the
18     names I recognize off of that.
19           Q        I'm just asking you if there's a document
20     you know of that has this list of names in it?
21           A        Not in front of me, no.
22           Q        Where is the original of the photograph
23     that has been widely circulated in the press of you
24     with Prince Andrew?
25           A        I probably still have it.            It's not in my

                            9,5*,1,$*,8))5(                       
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 18 of 22

 1     possession right now.
 2           Q        Where is it?
 3           A        Probably in some storage boxes.
 4           Q        Where?
 5           A        In Sydney.
 6           Q        Where in Sydney?
 7           A        At some family's house.            We got the boxes
 8     shipped to Australia, and they were picked up off the
 9     porch by my nephews and brought to their house.
10           Q        Which is where?
11           A        In Sydney.
12           Q        Where in Sydney?
13           A
14           Q        And who lives in that house?
15           A        Well, it's owned by my mother-in-law and
16     father-in-law, but my nephews live in the house.
17           Q        What are their names?
18           A        I'm not giving you the names of my
19     nephews.
20           Q        What's the address of the house?
21           A        Why would you want that?
22           Q        I want to know where the photograph is.
23     I'm asking you where the photograph is.                   And you've
24     just told me it's somewhere in                        ?
25           A        Yes.

                             9,5*,1,$*,8))5(                        
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 19 of 22

 1           Q        So where in                        is the photograph
 2     located?
 3           A        If I can't 100 percent say that the
 4     photograph is there, it could be at my house that I
 5     presently live in.           I'm not going to give you the
 6     address of my nephews' residence.
 7           Q        When is the last time you saw the
 8     photograph in person?
 9           A        When I packed and left America.
10           Q        Colorado?
11           A        Yes.
12           Q        All right.         So you had that photograph
13     here with you in Colorado?
14           A        Yes.
15           Q        What's on the back of the photograph?
16           A        I'm sorry?
17           Q        Is there anything on the back of the
18     photograph?
19           A        There's like the date it was printed, but
20     no writing or anything.
21           Q        Okay.      Does it say where it was printed?
22           A        I don't believe so.                I think it just -- I
23     don't remember.         I just remember there's a date on
24     it.
25           Q        Whose camera was it taken with?

                             9,5*,1,$*,8))5(                          
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 20 of 22

 1           A        My little yellow Kodak camera.
 2           Q        Who took the picture?
 3           A        Jeffrey Epstein.
 4           Q        And where did you have it developed?
 5           A        I believe when I got back to America.
 6           Q        So where?
 7           A        I don't know.
 8           Q        Palm Beach?
 9           A        I don't know.
10           Q        What is the date the photograph was
11     printed?
12           A        I believe it's in March 2001.
13           Q        Okay.
14           A        But that's just off of my photographic
15     memory.     I don't -- it could be different, but I
16     think it's March 2001.
17           Q        You have a photographic memory?
18           A        I'm not saying I have a photographic
19     memory.     But if I'd look at the back of the photo and
20     I remember what it says, I believe it was March 2001.
21           Q        Did the photograph ever leave your
22     possession for a while?
23           A        I gave it to the FBI.
24           Q        Okay.     And when did you get it back?
25           A        When they took copies of it.

                            9,5*,1,$*,8))5(                       
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 21 of 22

 1           Q        When was that?
 2           A        2011.
 3           Q        When they came to interview you?
 4           A        Yes.
 5           Q        So from 2011 until you left Colorado it
 6     was in your personal possession?
 7           A        Yes.
 8           Q        What other documents related to this case
 9     are in that, storage boxes in Australia?
10                    MR. EDWARDS:          Object to the form.
11           A        Documents related to this case -- there --
12     I don't know.       I really can't tell you.            I mean,
13     there's seven boxes full of Nerf guns, my kids' toys,
14     photos.     I don't know what other documents would be
15     in there.
16           Q        (BY MS. MENNINGER)             Did anyone search
17     those documents after you received discovery requests
18     from us in this case?
19           A        I haven't been able to obtain those boxes.
20     I can't get them sent back up to me.                 It's going to
21     cost me a large amount of money.                  And right now I'm
22     trying to look after my family, so I'm not able to
23     afford to get them up.
24           Q        You live in Australia, correct?
25           A        I do.

                             9,5*,1,$*,8))5(                       
                  $JUHQ%ODQGR&RXUW5HSRUWLQJ
     Case 1:15-cv-07433-LAP                      9LGHR,QF
                            Document 1320-19 Filed 01/03/24 Page 22 of 22

 1     read it.
 2                    MS. MENNINGER:          We're going off the
 3     record.
 4                    MR. EDWARDS:         Yeah, that's fine.       She'll
 5     read.
 6                    THE VIDEOGRAPHER:            That concludes today's
 7     proceedings.       We're off the record at 5:28.
 8                    (Proceedings concluded at 5:28 p.m.)
 9

10                           * * * * * * *
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                            9,5*,1,$*,8))5(                        
